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                       IN THE UNITED STATES DISTRICT COURT

                           FOR THE DISTRICT OF COLUMBIA



 DONALD J. TRUMP,

                               Plaintiff,

                v.
                                                               Case No. 1:19-cv-02173-CJN
 COMMITTEE ON WAYS AND MEANS,
 UNITED STATES HOUSE OF
 REPRESENTATIVES, et al.,

                                Defendants.




         NEW YORK DEFENDANTS’ MOTION TO DISMISS THE AMENDED
           COMPLAINT FOR LACK OF PERSONAL JURISDICTION AND
                           IMPROPER VENUE

      Defendants Letitia James, sued in her official capacity as Attorney General of the State of

New York, and Michael R. Schmidt, sued in his official capacity as Commissioner of the New

York State Department of Taxation and Finance (collectively, the “New York Defendants”),

through their undersigned counsel, move pursuant to Rules 12(b)(2) and 12(b)(3) of the Federal

Rules of Civil Procedure to dismiss the Amended Complaint (ECF No. 30) against them because

this Court lacks personal jurisdiction over the New York Defendants and this District is an

improper venue, or in the alternative, to transfer venue to the Southern District of New York

pursuant to 28 U.S.C. § 1406(a). The grounds supporting this motion are set forth in the

accompanying memorandum of law.
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         Pursuant to the Court’s order dated August 14, 2019 (ECF No. 29), Plaintiff’s opposition

to this motion is due on or before September 9, 2019. A proposed order is attached.

Dated:    New York, New York
          August 29, 2019
                                                  LETITIA JAMES
                                                  Attorney General of the State of New York

                                                  By:       /s/ Andrew Amer
                                                         Andrew Amer
                                                  Special Litigation Counsel
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                                                  Attorney for Defendants Letitia James, in her
                                                  official capacity, and Michael R. Schmidt, in
                                                  his official capacity




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                       IN THE UNITED STATES DISTRICT COURT

                           FOR THE DISTRICT OF COLUMBIA



 DONALD J. TRUMP,

                               Plaintiff,

                v.
                                                               Case No. 1:19-cv-02173-CJN
 COMMITTEE ON WAYS AND MEANS,
 UNITED STATES HOUSE OF
 REPRESENTATIVES, et al.,

                                Defendants.




            [PROPOSED] ORDER GRANTING NEW YORK DEFENDANTS’
                           MOTION TO DISMISS

       After considering the motion filed by Defendants Letitia James, sued in her official

capacity as Attorney General of the State of New York, and Michael R. Schmidt, sued in his

official capacity as Commissioner of the New York State Department of Taxation and Finance

(collectively, the “New York Defendants”) to dismiss this action against them for lack of

personal jurisdiction and improper venue pursuant to Rules 12(b)(2) and 12(b)(3) of the Federal

Rules of Civil Procedure, the motion is GRANTED. Mr. Trump has failed to meet his burden of

establishing the existence of personal jurisdiction over the New York Defendants. Reuber v.

United States, 787 F.2d 599, 599 (D.C. Cir. 1986). He has neither alleged facts in the Amended

Complaint nor pointed to any evidence in his opposition showing that the New York Defendants

reside in this District for purposes of exercising general jurisdiction under D.C. Code § 13-422,

or have sufficient “minimum contacts” with this District for purposes of exercising specific
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jurisdiction under D.C.’s long-arm statute, D.C. Code § 12-423, or the Due Process Clause.

Lemon v. Kramer, 270 F. Supp. 3d 125, 135-36 (D.D.C. 2017) (citing Goodyear Dunlop Tires

Operations, S.A. v. Brown, 564 U.S. 915, 919 (2011)).

       It is hereby ORDERED that the Amended Complaint is dismissed against the New York

Defendants for lack of personal jurisdiction.



Dated: _____________________                               ________________________
                                                           Hon. Carl J. Nichols
                                                           United States District Judge




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                               CERTIFICATE OF SERVICE

       I hereby certify that on August 29, 2019, I caused the foregoing document to be filed via

this Court’s CM/ECF system, which I understand caused service on all counsel of record.



                                                           /s/ Andrew Amer
                                                           Andrew Amer
